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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                            :
                                                     :          CASE NO. 21-55737-PWB
   JAMES EARNEST NEWMAN, SR. a.k.a.                  :
   JAMES E. NEWMAN and                               :
   MARY HAASE NEWMAN a.k.a.                          :
   MARY H. NEWMAN,                                   :
                                                     :
            Debtors.                                 :

                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                1.

            On December 13, 2022, the Trustee sold real property of the estate known as 3424

   Double Eagle Drive, Unit 30, Marietta, GA 30008 (“Property”) to Andreana Washington

   (“Purchaser”) for $270,000.00 as ordered and approved by the Court on November 22,

   2022 [Doc. No. 47].

                                                2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchaser

   and has received net funds of $21,951.92 from the sale.

            Respectfully submitted this 15th day of December, 2022.

                                                             /s
    Hays Financial Consulting, LLC                       S. Gregory Hays
   2964 Peachtree Road, N.W., Suite 555                  Chapter 7 Trustee
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                  Exhibit “A”
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                                CERTIFICATE OF SERVICE

          I, S. Gregory Hays, certify that I am over the age of 18 and that on this date, I
   served a copy of the foregoing Report of Sale by first class U.S. Mail, with adequate
   postage prepaid on the following persons or entities at the addresses stated and upon all
   the following persona or entities at the addresses stated:

           Office of the United States Trustee
           362 Richard B. Russell Building
           75 Ted Turner Drive, SW
           Atlanta, GA 30303

           James Earnest Newman, Sr.
           811 Royal View Dr
           Merryville, TN 37801

           Mary Haase Newman
           811 Royal View Dr
           Merryville, TN 37801

           Ian M. Falcone
           The Falcone Law Firm, P.C.
           363 Lawrence Street
           Marietta, GA 30060

          This 15th day of November, 2022.

                                                          /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
